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     REMOVAL AND APPOINTMENT OF MANAGER(S) OF SDM HOLDINGS, LLC

       Pursuant to the applicable provisions of (1) the Oklahoma Limited Liability Act, as

amended, 18 O.S., 2001, § 2000, et seq., (2) Sections 3.01 and 3.05 of the Operating Agreement

of SDM Holdings, LLC, an Oklahoma limited liability company (“SDM”), and (3) the Order of

the Court dated January 4, 2024 [Doc. No. 565] (the “Order”), in the matter styled Universitas

Education, LLC v. Avon Capital, LLC et al., Case No. CIV-14-FJ-0005-HE, United States District

Court for the Western District of Oklahoma, the undersigned hereby removes the current Manager

of SDM and appoints Nicole Jacobsen as Manager of SDM effective immediately. Ms. Jacobsen

will be compensated $2,000.00 per month. This action is taken in furtherance of the Court’s Order

for the Receiver “to identify and take such steps as may be appropriate to preserve the assets of

Avon Capital, LLC (Wyoming), including the insurance policies held through [SDM,]” and in

light of Section 3.01 of SDM’s Operating Agreement which provides “[t]he execution of any

document by the Manager(s) on behalf of the Company will constitute prima facie evidence of

valid action by the Company.”

       Pursuant to the above-referenced statute and sections of SDM’s Operating Agreement,

Nicole Jacobsen has the right and power to do any and all acts necessary, appropriate, proper,

advisable, convenient or incidental to or for the furtherance of the lawful purposes of SDM.

       Dated this 9th day of January, 2024.



                                                    ________________________________
                                                    Ryan Leonard
                                                    Receiver for Avon Capital, LLC
